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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division

CHIRAG SHAH,

                       Plaintiff,

                                                       Civil Action No. l:13-cv-1481 (AJT/JFA)

SOUTHWEST AIRLINES, et al,

                       Defendants.


                                              ORDER


       This matter is before the Court on Defendant Southwest Airlines' Motion in Limine to

Exclude Certain Testimony of Charlotte Bryan [Doc. No. 30], Motion in Limine to Exclude

Evidence of Southwest's Liability Insurance [Doc. No. 39], Motion in Limine to Exclude

Evidence of Ava Alley's Reference to "Middle Eastern Looking Men" in her Company Report

[Doc. No. 41], and Uncontested Motion for Leave to File Surreply Brief [Doc. No. 70], as well

as Plaintiffs Motion in Limine for Certain Pretrial Orders [Doc. No. 43] and Motion for Leave to

File Sur-Surreply Brief [Doc. No. 71]. The Court has considered the motions and the

memoranda submitted in support thereof and in opposition thereto, and rules as follows:

       As to Defendant's Motion in Limine to Exclude Certain Testimony of Charlotte Bryan

[Doc. No. 30], the Court concludes that the merits of Defendant's objection must be assessed

within the context of the particular testimony offered; and the Court will therefore reserve on the

motion in order to consider the issue as it arises during the course of the trial.

       As to Defendant's Motion in Limine to Exclude Evidence of Southwest's Liability

Insurance [Doc. No. 39], the Court concludes that the probative value of the evidence, properly

presented, is not substantially outweighed by a danger of unfair prejudice; and the motion will

therefore be denied.


       As to Defendant's Motion in Limine to Exclude Evidence of Ava Alley's Reference to

"Middle Eastern Looking Men" in her Company Report [Doc. No. 41] and Plaintiffs Motion in
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Limine for Certain Pretrial Orders [Doc. No. 43], the Court concludes that the admissibility of

the irregularity reports, including Ms. Alley's reference to "Middle Eastern Looking Men,"

cannot be properlyassessed before trial and consideration of the specific purposes for which the

reports are offered at trial. The Court will therefore reserve as to the admissibility of the

irregularity reports and Defendant's Motion in Limine to Exclude Evidence of Ava Alley's

Reference to "Middle Eastern Looking Men" in her Company Report.

       As to Plaintiffs requests in his motion [Doc. No. 43] for (1) "[a]n order prohibiting

Defendants' witnesses and counsel from mentioning or discussing most terrorist incidents or

individuals convicted of terrorist acts," (2) an order prohibiting Defendants' experts from

discussing the existence of Sensitive Security Information ("SSI") or assuming the existence of

any procedures or policies designated SSI when forming any opinion, and (3) an order

prohibiting Defendants' experts from discussing Southwest's policy of promoting harmony,

trust, and cohesion among employees or considering such a policy when forming any opinion,

the Court cannot properly rule outside of the specific context in which the issues arise at trial,

and the Court will therefore reserve as to these issues. The parties are instructed, however, not to

mention in opening statements or otherwise before the jury, before the Court further rules, any of

the challenged expert testimony or any specific terrorist incidents other than the Boston

Marathon bombingsor the September 11thattacks, which should only be mentioned for the

limited purposes to which Plaintiff has agreed. Absent additional grounds that may become

apparent at trial, the Court will deny Plaintiffs requestto conduct voir dire of Defendant's

experts outside the hearing of the jury and will also deny his request that Defendant's witnesses

be precluded from wearing their flight uniforms while testifying.
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          Defendant's Motion for Leave to File Surreply Brief [Doc. No. 70] and Plaintiffs Motion

for Leave to File Sur-Surreply Brief [Doc. No. 71] will both be granted.

          For the reasons discussed above, it is hereby

          ORDERED that Defendant Southwest Airlines' Motion in Limine to Exclude Evidence of

Southwest's Liability Insurance [Doc. No. 39] be, and the same hereby is, DENIED; and it is

further


          ORDERED that Plaintiffs Motion in Limine for Certain Pretrial Orders [Doc. No. 43] be,

and the same hereby is, DENIED as to Plaintiffs requests that he be permitted to conduct voir

dire outside the hearing of the jury and that Defendant's witnesses be precluded from wearing

their flight uniforms while testifying; and it is further

          ORDERED that the Court reserves decision on Defendant Southwest Airlines' Motion in

Limine to Exclude Certain Testimony of Charlotte Bryan [Doc. No. 30] and Motion in Limine to

Exclude Evidence of Ava Alley's Reference to "Middle Eastern Looking Men" in her Company

Report [Doc. No. 41], and on Plaintiffs requests, in his Motion in Limine for Certain Pretrial

Orders [Doc. No. 43], regarding the irregularity reports, terrorist incidents, SSI, and Southwest's

policy of promoting harmony; and it is further

          ORDERED that Defendant Southwest Airlines' Motion for Leave to File Surreply Brief

[Doc. No. 70] be, and the same hereby is, GRANTED; and it is further

          ORDEREDthat Plaintiffs Motion for Leave to File Sur-Surreply Brief [Doc. No. 71] be,

and the same hereby is, GRANTED.

          The Clerk is directed to forward copies of this Order to all counsel of record.
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                                  Anthony J. Trc
                                  United States District Judge

September 3,2014
Alexandria, Virginia
